                  IN THE UNITED STATES DISTRICT COURT FOR THE
                          WESTERN DISTRICT OF MISSOURI

UNITED STATES OF AMERICA

                             Plaintiff,

-vs-                                                              Criminal Action No.
                                                                  21-00093-01-CR-W-GAF
DANIEL I. RAMIREZ,

                        Defendant.
_____________________________________

                   MEMORANDUM OF MATTERS DISCUSSED AND
                   ACTION TAKEN AT PRETRIAL CONFERENCE

The following matters were discussed and action taken during the pretrial conference:

PENDING CHARGES:             Count One – Conspiracy to Distribute Fentanyl, in violation of 21
                                           U.S.C. §§ 841(a)(1) and (b)(1)(C) and 846
                             Count Four – Distribution of Fentanyl, in violation of 21 U.S.C. §
                                           841(a)(1) and (b)(1)(C)
                             Count Five – Distribution or Possession with Intent to Distribute
                                           Fentanyl within 1,000 Feet of a Public or Private
                                           School, in violation of 21 U.S.C. §§ 841(a)(1) and
                                           860(a)
                             Count Six – Possession with Intent to Distribute Fentanyl, in
                                           violation of 21 U.S.C. § 841(a)(1) and (b)(1)(C)
                             Count Seven – Distribution or Possession with Intent to Distribute
                                           Fentanyl within 1,000 Feet of a Public or Private
                                           School, in violation of 21 U.S.C. §§ 841(a)(1) and
                                           860(a)
                             Count Eight – Possession of a Firearm in Furtherance of a Drug
                                           Trafficking Crime, in violation of 18 U.S.C. §
                                           924(c)(a)(A)(i)

TRIAL COUNSEL:
      Government: Byron Black
           Case Agent:   Special Agent Brett Mingee, DEA
      Defense:    Angela Hasty


OUTSTANDING MOTIONS:              None

ANTICIPATED MOTIONS:              None




         Case 4:21-cr-00093-GAF Document 31 Filed 10/13/21 Page 1 of 3
TRIAL WITNESSES:
     Government:         16 with stipulations; 18 without stipulations
     Defense:            No additional witnesses; Defendant will not testify

TRIAL EXHIBITS:
     Government:         180 exhibits
     Defense:            No exhibits

DEFENSES:
    ( x ) defense of general denial
    ( ) defenses of general denial and _________________________________________

POSSIBLE DISPOSITION:
     ( ) Definitely for trial                      ( ) Possibly for trial
     ( ) Motion to continue to be filed            ( x ) Likely a plea will be worked out

TRIAL TIME:       2 days
      Government’s case including jury selection: 2 days
      Defense case: No additional time

STIPULATIONS:
     ( ) not likely
     ( ) not appropriate
     ( x ) likely as to:
           ( ) chain of custody
           ( x ) chemist’s reports
           ( ) prior felony conviction
           ( ) interstate nexus of firearm
           ( x ) firearm function
           ( x ) school zone

UNUSUAL QUESTIONS OF LAW:               None

FILING DEADLINES:

       Witness and Exhibit Lists:
       Government: October 18, 2021
       Defense:     October 18, 2021
       Counsel are requested to list witnesses in alphabetical order on their witness list.

       Exhibit Index, Voir Dire, Jury Instructions: October 18, 2021
       Jury instructions must comply with Local Rule 51.1

       Motions in Limine: October 18, 2021


TRIAL SETTING: Criminal jury trial docket commencing November 1, 2021




         Case 4:21-cr-00093-GAF Document 31 Filed 10/13/21 Page 2 of 3
OTHER:
    ( )   A _____________________-speaking interpreter is required.
    ( )   Other assistive devices:

    IT IS SO ORDERED.

                                                   /s/ Jill A. Morris
                                                   JILL A. MORRIS
                                                   United States Magistrate Judge




                                        3



     Case 4:21-cr-00093-GAF Document 31 Filed 10/13/21 Page 3 of 3
